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                                  UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                         Los Angeles DIVISION

In re: NAMCO FINANCIAL EXCHANGE                        §         Case No. 2:09-bk-17727-BR
       CORPORATION                                     §
                                                       §
                                                       §
                     Debtor(s)


                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Heide Kurtz, trustee of
the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have filed final
fee applications, which are summarized in the attached Summary of Trustee’s Final Report and Applications for
Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                               U.S. Bankruptcy Court
                                          255 E. Temple Street, Suite 940
                                              Los Angeles, CA 90012
         A hearing on the Trustee's Final Report and Applications for Compensation will be held on 3-30-2021
at 10:00 a.m. in Courtroom 1668 Los Angeles Courthouse, located at 255 E. Temple Street, Los Angeles, CA
90012. Any person wishing to object to any fee application that has not already been approved, or to the
Trustee's Final Report, must file a written opposition thereto pursuant to Local Bankruptcy Rule 9013-1(f) not
later than 14 days before the date designated for hearing and serve a copy of the opposition upon the Trustee,
any party whose application is being challenged and the United States Trustee. Untimely objections may be
deemed waived. In the absence of a timely objection by the United States Trustee or any other party in
interest, the Court may discharge the Chapter 7 Trustee and close the case without reviewing the Final Report
and Account or determining the merits of the Chapter 7 Trustee's certification that the estate had been fully
administered. See Federal Rule of Bankruptcy Procedure 5009. Due to Covid, the hearing will be conducted
on Zoom at zoomgov.com. Use Meeting ID: 1614742395, Password: 123456
Date Mailed: 02/12/2021                                    By:: /s/ Heide Kurtz
                                                                                  Trustee
Heide Kurtz
2515 South Western Ave. Ste.11
San Pedro, CA 90732
(310) 832-3604
hkurtz@hkurtzco.com




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                                     UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            Los Angeles DIVISION

In re:NAMCO FINANCIAL EXCHANGE                              §      Case No. 2:09-bk-17727-BR
      CORPORATION                                           §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                     1,519,428.22
                 and approved disbursements of:                                    $                     1,348,118.55
                 leaving a balance on hand of1:                                    $                        171,309.67

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                     0.00
                                                Remaining balance:                              $               171,309.67

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - HEIDE KURTZ, Trustee                                       68,832.85         49,636.24        19,196.61
  Trustee, Expenses - Heide Kurtz, Trustee                                     1,320.62         1,153.43            167.19
  Charges, U.S. Bankruptcy Court                                                 500.00              0.00           500.00
  Bond Payments - INTERNATIONAL SURETIES, LTD.                                 1,264.81         1,264.81               0.00
  Other State or Local Taxes (post-petition) - Franchise Tax                 15,475.45         12,019.53          3,455.92
  Board
  Attorney for Trustee Fees (Other Firm) - Weiss & Spees LLP                165,865.00       165,865.00                0.00
  Attorney for Trustee Fees (Other Firm) - SMILEY WANG-                      78,814.50         41,109.50        37,705.00
  EKVALL


          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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  Reason/Applicant                                                       Total            Interim         Proposed
                                                                     Requested        Payments to          Payment
                                                                                            Date
  Attorney for Trustee Fees (Other Firm) - WEILAND GOLDEN            217,965.00        217,965.00              0.00
  SMILEY WANG-EKVALL
  Attorney for Trustee Expenses (Other Firm) - Weiss & Spees           7,284.95          7,284.95              0.00
  LLP
  Attorney for Trustee Expenses (Other Firm) - SMILEY                  2,547.42               824.42       1,723.00
  WANG-EKVALL
  Attorney for Trustee Expenses (Other Firm) - WEILAND                 7,089.33          7,089.33              0.00
  GOLDEN SMILEY WANG-EKVALL
  Accountant for Trustee Fees (Other Firm) - HAHN FIFE &              66,530.00         59,042.00          7,488.00
  COMPANY, LLP
  Accountant for Trustee Expenses (Other Firm) - HAHN FIFE             1,639.10               990.40        648.70
  & COMPANY, LLP

                Total to be paid for chapter 7 administrative expenses:                  $                 70,884.42
                Remaining balance:                                                       $                100,425.25

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                 Total             Interim           Proposed
                                                                   Requested         Payments to       Payment
                                                                                     Date

                                                     None

                Total to be paid for prior chapter administrative expenses:              $                      0.00
                Remaining balance:                                                       $                100,425.25

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $60,643.16 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                             Allowed Amount        Interim Payments                    Proposed
  No.                                                  of Claim                 to Date                    Payment
  13P      Franchise Tax Board                            834.98                     834.98                    0.00
  23P      City of Los Angeles Office of              59,808.18                59,808.18                       0.00
           Finance

                                             Total to be paid for priority claims:       $                     0.00
                                             Remaining balance:                          $               100,425.25




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               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $45,775,549.49 have been allowed
       and will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
       The timely allowed general (unsecured) dividend is anticipated to be 1.8 percent, plus interest (if
       applicable).
              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  1           Paul and Judith Laska Family                737,501.98               11,472.83                1,617.97
              Trust
  2           Paul and Judith Laska                              0.00                    0.00                    0.00
  3           Ernesto and Socorro Vasquez                 766,379.06               11,922.05                1,681.33
  4           The Crawford Living Trust                   298,603.74                4,645.18                  655.09
  5           87th Peoria, LLC                            872,378.00               13,571.00                1,913.88
  6           Arnel Investments, LLC c/o                  447,259.90                6,957.72                  981.23
              Bovitz & Spitzer
  7           Sunnylane Partners LLC                    2,092,452.70               32,550.89                4,590.55
  8           Holly Getlin, Gordon Karsin              17,744,586.00              276,040.67               38,929.18
              and Ronald Karsin
  9           Holly Geltin, Trustee of Irene            3,718,071.88               57,839.56                8,156.94
              Karsin Family Trust
  10          Levering 26 LLC                           1,979,530.08               30,794.23                4,342.81
  11          Faye Javahery, Solemon                    2,778,397.00               43,221.67                6,095.42
              Hezghaeian and Ramin
              Javahery
  12          Namco Capital Group Inc                            0.00                    0.00                    0.00
  13U         Franchise Tax Board                              450.00                    7.00                    0.99
  14          JRMB Family Trust                           372,375.00                5,792.79                  816.94
  15          JGolshan, LLC                               575,812.50                8,957.53                1,263.25
  16          Asilzadeh Family LLC                         57,618.75                  896.34                  126.40
  17          Drivers Way Investments,                           0.00                    0.00                    0.00
              LLC
  18          La Crescenta Foothill                     2,110,318.18               32,828.81                4,629.75
              Investments, LLC
  19          Boyle Avenue LLC                          7,090,598.26              110,303.70               15,555.80
  20          Joseph & Sharona Amin                     1,018,372.85               15,842.15                2,234.17
  21          Brickwalk, LLC                            1,555,342.58               24,195.42                3,412.21




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  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  22          Rolling Hills Capital, LLC               1,559,501.03                  24,260.11            3,421.34

                      Total to be paid for timely general unsecured claims:                 $            100,425.25
                      Remaining balance:                                                    $                  0.00

               Tardily filed claims of general (unsecured) creditors totaling $140,000.00 have been allowed
       and will be paid pro rata only after all allowed administrative, priority and timely filed general
       (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
       percent, plus interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  25          Elissa D Miller, Ch 7 Trustee              140,000.00                       0.00                  0.00
              for Mariana Jalil
  26          Mobil 601 Plaza, LLC                              0.00                      0.00                  0.00

                      Total to be paid for tardily filed general unsecured claims:          $                    0.00
                      Remaining balance:                                                    $                    0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $54,299.94 have been allowed and will be paid pro rata
       only after all allowed administrative, priority and general (unsecured) claims have been paid in full.
       The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  23U         City of Los Angeles Office of               21,947.94                       0.00                  0.00
              Finance
  27          INTERNAL REVENUE                            32,352.00                       0.00                  0.00
              SERVICE

                                               Total to be paid for subordinated claims: $                       0.00
                                               Remaining balance:                        $                       0.00




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                                               Prepared By: /s/ Heide Kurtz
                                                                                 Trustee
    Heide Kurtz
    2515 South Western Ave. Ste.11
    San Pedro, CA 90732
    (310) 832-3604
    hkurtz@hkurtzco.com




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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